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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES,

Plaintiff,

oe 08 ee tele

Civil Action
No. 99-1875 (GR)

Vv.

CARGILL, INCORPORATED and
CONTINENTAL GRAIN COMPANY, :
FILED

a9

Defendants. :

JUN 3 0 2000

NANCY MAYER WHITTINGTO
U.S. DISTRICT COURT CLERK

 

ORDER

This matter comes before the Court on the Motion by the United
States for Entry of Final Judgment [#22]. Upon consideration of the
motion, the public comments filed in response to the proposed final
judgment, and the United States' report, for the reasons stated in
the accompanying Memorandum Opinion, it is this % O T. day of
June 2000, hereby

ORDERED, that the Motion by the United States for Entry of
Final Judgment [#22] is granted, and the Final Judgment shall be

entered.

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Gladys Kess
United States “pistrict guage.

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Case 1:99-cv-01875-GK Document 24 Filed 06/30/00

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